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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                   Indianapolis Division


JONATHAN R. BLAND,                    )
          Plaintiff,                  )
                                      )
      v.                              ) Cause No. 1:17-CV-03146-JMS-DML
                                      )
EXPERIAN INFORMATION SOLUTIONS, INC., )
and SHEFFIELD FINANCIAL CORPORATION, )
           Defendants.                )


                                   NOTICE OF SETTLEMENT

       Plaintiff, Jonathan R. Bland, by counsel, hereby notifies the Court that the Plaintiff and the

Defendant, Experian Information Solutions, Inc., have reached a settlement in this matter and are

attempting to finalize the language of a written Settlement Agreement, and anticipate filing the

appropriate dismissal documents with the Court within sixty (60) days. This matter is now

concluded in its entirety, and all future hearing dates and deadlines should be vacated.


                                               Respectfully submitted,

                                               /s/ Keith L. Hancock
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                                     CERTIFICATE OF SERVICE

       The undersigned certifies that a true copy of the foregoing was filed electronically and
served on all ECF registered counsel by operation of the Court’s electronic filing this 9th day of
November 2017, as follows:

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